Case 2:19-cv-01717-RGK-AGR Document 321 Filed 10/10/22 Page 1 of 3 Page ID #:11055



 1 WINSTON & STRAWN LLP
   Jeffrey L. Kessler (pro hac vice)
 2 jkessler@winston.com
 3 David G. Feher (pro hac vice)
   dfeher@winston.com
 4 200 Park Avenue
   New York, New York 10166
 5 Telephone: (212) 294-6700
   Facsimile: (212) 294-4700
 6
 7 Cardelle B. Spangler (pro hac vice)
   cspangler@winston.com
 8 35 West Wacker Drive
   Chicago, Illinois 60601
 9 Telephone: (312) 558-5600
10 Facsimile: (312) 558-5700
11 Attorneys for Plaintiffs
12 LATHAM & WATKINS LLP
   Jamie L. Wine (Bar No. 181373)
13 E-mail: Jamie.Wine@lw.com
   885 Third Avenue
14 New York, NY 10022
   Phone: (212) 906-1200
15 Facsimile: (212) 751-4864
16 Michele D. Johnson (Bar No. 198298)
   E-mail: Michele.Johnson@lw.com
17 650 Town Center Drive, 20th Floor
   Costa Mesa, CA 92626
18 Phone: (714) 540-1235
   Facsimile: (714) 755-8290
19
   Attorneys for Defendant
20
21                        UNITED STATES DISTRICT COURT

22             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

23
     ALEX MORGAN, et al.,                     Case No. 2:19-CV-01717-RGK-AGR
24
                    Plaintiffs,               JOINT STIPULATION TO
25        v.                                  CONTINUE FINAL APPROVAL
                                              HEARING
26 UNITED STATES SOCCER
   FEDERATION, INC.,                          Judge:   Hon. R. Gary Klausner
27
              Defendant.
28

                 JOINT STIPULATION TO CONTINUE FINAL APPROVAL HEARING
                              CASE NO. 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 321 Filed 10/10/22 Page 2 of 3 Page ID #:11056



 1         Plaintiffs Alex Morgan, et al. and defendant United States Soccer Federation, Inc.
 2 (together with Plaintiffs, the “Parties”), having conferred, by and through their counsel of
 3 record, hereby stipulate to the following and request that the Court continue the
 4 December 5, 2022 final approval hearing to December 12, 2022. The basis for the Parties’
 5 stipulation is as follows:
 6         WHEREAS, on August 11, 2022, the Court preliminarily approved the Parties’
 7 settlement of Plaintiffs’ Title VII and Equal Pay Act pay-discrimination claims (Dkt. 320);
 8         WHEREAS, in granting preliminary approval, the Court scheduled a final approval
 9 hearing for December 5, 2022 (Dkt. 320 at 6);
10         WHEREAS, USSF has advised that it provided notice of the Parties’ pay-claims
11 settlement to the appropriate state and federal officials under the Class Action Fairness Act
12 (“CAFA”) on September 9, 2022;
13         WHEREAS, courts may not issue final settlement approval orders until 90 days after
14 the appropriate state and federal officials are served with notice under CAFA (Alikhan v.
15 Goodrich Corp., No. 17-CV-6756-JGB-RAOx, 2020 WL 4919382, at *5 (C.D. Cal. June
16 25, 2020 (“An order giving final approval of a proposed settlement may not be issued
17 earlier than 90 days after the later of the dates on which the appropriate Federal official
18 and the appropriate State official are served with the notice required under [28 U.S.C. §
19 1715(b)]” (citing statute)));
20         WHEREAS, 90 days from the September 9, 2022 service date is Thursday,
21 December 8, 2022;
22         WHEREAS, the Parties seek to continue the December 5, 2022 final approval
23 hearing to December 12, 2022 (or to such later date in December that the Court’s schedule
24 allows) so that it occurs after the 90-day period after service of CAFA notices has expired
25 and the Court may grant final approval of the settlement.
26         THEREFORE, the Parties respectfully request that the Court continue the December
27 5, 2022 final approval hearing to December 12, 2022 at 9:00 a.m.
28
                                             1
                 JOINT STIPULATION TO CONTINUE FINAL APPROVAL HEARING
                              CASE NO. 2:19-CV-01717-RGK-AGR
Case 2:19-cv-01717-RGK-AGR Document 321 Filed 10/10/22 Page 3 of 3 Page ID #:11057



1 Dated: October 10, 2022                       Respectfully submitted,
2
3                                                  WINSTON & STRAWN LLP
4                                                   By: /s/ Jeffrey L. Kessler1
5                                                      Jeffrey L. Kessler
                                                       David G. Feher
6
                                                       Cardelle B. Spangler
7                                                      Diana Hughes Leiden
                                                       Jeanifer E. Parsigian
8
9                                                  Attorneys for Plaintiffs
10
11                                                 LATHAM & WATKINS LLP
12
                                                    By: /s/ Jamie L. Wine
13                                                     Jamie L. Wine
14                                                     Michele D. Johnson
                                                       Kuan Huang
15                                                     Sarah M. Gragert
16
                                                   Attorneys for Defendant
17
18
19
20
21
22
23
24
25
26
27
     1
       I, Jeffrey L. Kessler, attest that all other signatories listed, and on whose behalf this filing
28
     is submitted, concur in the filing’s content and have authorized the filing.
                                               2
                   JOINT STIPULATION TO CONTINUE FINAL APPROVAL HEARING
                                CASE NO. 2:19-CV-01717-RGK-AGR
